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                            UNITED STATES DISTRICT COURT
                           OF THE DISTRICT OF COLUMBIA


    CARL A. BARNES, et al


                        Plaintiffs                Civil Action No:       06-315 (RCL)

    v.                                            Next Event: None scheduled

    GOVERNMENT OF THE DISTRICT
    OF COLUMBIA,

                        Defendant


PLAINTIFFS’ PARTIALLY REDACTED MOTION TO COMPEL PRODUCTION

            OF DATA FROM CERTAIN JACCS FIELDS AND RELATED

         DOCUMENTATION REQUESTED IN PLAINTIFFS’ 4TH DOCUMENT

                                PRODUCTION REQUESTS


         Plaintiffs respectfully move this Court to compel Defendant District of Columbia

to produce to plaintiffs electronic data from certain fields in JACCS1 (“JACCS data”)

and also JACCS documentation such as data dictionaries (“JACCS documents”) (both

described below) related to understanding the functions and capabilities of the JACCS

data base. Plaintiffs need the JACCS documents to develop “queries2” to run in the

JACCS data for use in the process of calculating the number of over detentions (and

1
  JACCS is the District’s primary inmate management systems. The system has fields to capture
information about each inmate’s booking cycle (or period of incarceration) such as Commitment
Date, Release Date and Exit Date and last court date.
2
  A “query” is a search throughout the JACCS data for all inmates who meet certain criteria during
a defined time period, for example, all inmates released from the DC Jail during September of 2006.
For example, in this case, plaintiffs use queries to identify identify on a class wide basis lists of
inmates who were potentially held past their Release Dates and court returns who were strip
searched after a judge ordered their releases.
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lengths of over detention hours) and the number of court return strip searches to

establish “ongoing constitutional violations” for the liability prongs of plaintiffs’

claims. Warren v. District of Columbia, 353 F.3d 36, 39 D.C. 2004). Moreover,

plaintiffs also need the JACCS data and documents for use in the scheduled

dispositive motions, for example, plaintiffs need to convert information obtained

informally in this case and in the Bynum case into a Rule 56(e) format for use in the

dispositive motions. Finally, plaintiffs need JACCS data to understand and verify

certain deposition testimony and DOC processes for handling inmates. Many of the

practices of handling inmates which defendant’s witnesses have testified to can only

be verified by analyzing JACCS data entries made during the alleged practices. How

the documents requested in plaintiffs’ 4th document production requests relate to using

JACCS data to verify specific practices or processes used by the DOC is discussed in a

section of the motion that has been redacted and filed under seal pursuant to the

protective order in the case.


      Defendant objects to the production of the JACCS materials requested by

plaintiffs’ fourth document production requests on the ground that the requests relate

only to damages, and thus are beyond the scope of the Court’s Scheduling Order

(docket # 65, dated October 31, 2009). Significantly, opposing counsel do not object to

the document production requests on the ground that the material relates to both

liability and damages. Rather, the District’s objection is that the sole use for the

JACCS materials is for determining damages. During the Bynum case and during

this case plaintiffs experts and the District’s experts have had extensive discussions


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about how plaintiffs plan to use the JACCS materials for liability issues and so

defendant’s counsel and defendant’s technical staff are aware of just how plaintiffs

intend to use the JACCS materials to establish liability on their claims. Therefore, as

framed, defendant’s objections are unfounded.


CONSENT SOUGHT BUT NOT OBTAINED


      Plaintiffs have attempted unsuccessfully to obtain production of the documents

listed herein from the District informally by letter, email and phone calls. Fed. R. Civ.

P. 37. Therefore, Plaintiffs as movants have in good faith conferred with the

defendant’s counsel in an effort to obtain the documents without court action.


HOW REQUESTED JACCS DATA AND DOCUMENTS RELATE TO LIABILITY


      Plaintiffs need information about over detentions and court return strip

searches for use in establishing liability on their over detention and strip search

claims by establishing, for example, the number of over detentions, the number of over

detention hours, and the number of court returns entitled to release who were

subjected to strip searches after being ordered released by a judge during the class

period (and certain periods within the class period) and how the numbers of over

detentions and court return strip searches have moved (increased or decreased) over

the class period and sub-periods of the class period.


      As this Court stated in certifying both claims as class claims, “The dominant

issues in this case, as in Bynum, go to liability--whether the over detentions amount to

an unconstitutional municipal policy and whether the strip search policy is similarly
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unconstitutional. These issues dwarf whatever unique issues might arise at

the damages stage.” Barnes, 242 F.R.D. at 123. (internal citations omitted)

(emphasis added)


      Moreover, the process of using JACCS data to identify class members and also

for use in establishing custom and practice in both claims is a process that was

litigated and settled in the Bynum case. Using DOC computer data to establish

custom and practice of over detentions and strip searches by identifying individuals

who were overdetained and strip searched (and thus identifying the number of

individuals who were overdetained and strip searched and how those numbers

changed over time) is a subject that was addressed by the Court in Bynum:


      Indeed, the strategy that plaintiffs suggested to identify the
      overdetention class suggests a potential model for this class [court return
      strip search class] as well. In the overdetention class, plaintiffs intend to
      compare records of inmates' scheduled release date and actual release
      date. Here, plaintiffs could compare court appearance dates with release
      dates to find those plaintiffs who would have been strip searched during
      out-processing. This Court is satisfied that there are no formidable
      difficulties that are likely to be encountered in the management of this
      action if it is maintained as a class. As this Court found in its certification
      of the overdetention class, the present forum is also appropriate for the
      strip search class because of the identity of the defendant.

Bynum v. District of Columbia, 217 F.R.D. 43, 50 (D.D.C. 2003). (second motion to

certify strip search class). This passage quoted above deals with identifying class

members using DOC computer data to identify individuals who were overdetained and

strip searched. However, the same evidence is also relevant to establishing custom

and practice of over detentions and strip searches because identifying individuals who

were overdetained and strip searched also produces number of individuals who were

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overdetained and strip searched. “The evidence that plaintiffs have presented in

support of class certification is presumably the same evidence that plaintiffs will rely

upon to prove the merits of their case at trial.” Bynum v. District of Columbia,

214 F.R.D. 27, 31 (D.D.C. 2003).


The Number Of Over Detentions (And Over Detention Hours) And Strip

Searches Occurring Over The Class Period Are Relevant To Establishing The

District’s Liability On Plaintiffs’ Claims


      Of course the number of over detentions and over detention hours and strip

searches and how the numbers have changed over the class period and within sub-

periods of the class period are relevant to liability. Green v. Baca, 226 F.R.D. 624

(C.D. Cal. 2005) opinion clarified by Green v. Baca, WL 283361 (C.D. Cal. 2005).

“These issues dwarf whatever unique issues might arise at the damages stage.”

Barnes, 242 F.R.D. at 123. (internal citations omitted).


      In their proposed trial plan submitted in support of their motion to certify

(docket # 7) plaintiffs identified as the key issues involving determination of liability

on the over detention claim and the strip search claim the following:


      The central issues to be determined in the liability phase are: (1) whether
      the District has a pattern and practice of overdetaining inmates in the
      DC Jail or CTF or a halfway house after a judicial officer has ordered
      their release; (2) whether the District violates the constitutional rights of
      inmates by overdetaining inmates after a judicial officer has ordered
      their release; (3) what length of overdetention constitutes an
      unconstitutional overdetention; (4) whether the District has a pattern
      and practice of subjecting inmates to suspicionless strip searches after a
      judicial officer has ordered their release; (5) whether the District violates
      the constitutional rights of inmates by subjecting inmates to
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        suspicionless strip searches after a judicial officer has ordered their
        release. These issues can probably be determined on a motion for
        summary judgment on the applicable legal standard.

        Plaintiffs’ proposed trial plan, page 4, Plaintiffs’ Exhibit # 27, motion to certify,

(docket # 7). Moreover, pages 7 and 8 of the proposed trial plan (styled methods of

proof and discovery under Section I- Trial of Liability), detail how plaintiffs intend to

establish liability using JACCS data and sampling (among other methods). The

District never made any objections to plaintiffs’ proposed trial plan in its opposition to

the motion to certify.


        The extent of the over detention problem is obviously relevant to liability. For

example, the extent of the over detention problem is relevant to showing the existence

and the continuing nature of the over detention problem (what the Warren Court

called “ongoing constitutional violations”). In fact, just showing the existence of an

over detention or strip search custom is crucial to the case – for example, if there were

no over detention problem there would be no case. Likewise, proving that a practice of

strip searches in fact existed is crucial to proving a strip search3 claim.


        So-called “other acts” evidence is relevant to the central liability issue-whether

defendant had an unconstitutional policy and custom that led to plaintiff's over-

detention. The most direct way of establishing a “custom or practice” is showing a

pattern of violations over time. See City of Canton v. Harris, 489 U.S. 378, 398

(1989)(O'Connor, J., concurring in part) (“[R]espondent thus had every incentive to
3
  In Bynum, DC Jail staff did not make entries in JACCS to record that an inmate was strip searched upon his return to
the DC Jail. However, since the evidence showed that the District had a policy and practice of subjecting all inmates
entering the DC Jail to strip searches, even those entering the DC Jail for release determinations and out-processing,
court return strip search class members could be found by using JACCS data to find all persons released from the DC
Jail.
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adduce proof at trial of a pattern of violations to support her claim that the city had an

unwritten custom of denying medical care to emotionally ill detainees” (emphasis

added)); Mortimer v. Baca, --- F.3d ----, 2010 WL 396091 (C.A.9 (Cal.)). West v.

Tillman, 496 F.3d 1328-29; Green v. Baca, 226 F.R.D. 624 (C.D. Cal. 2005) opinion

clarified by Green v. Baca, WL 283361 (C.D. Cal. 2005). (The deprivations that

constitute widespread abuse sufficient to notify the supervising official must be

obvious, flagrant, rampant and of continued duration, rather than isolated

occurrences.)(internal quotation marks and citations and alterations omitted).


      The number of over detentions in a given period of times and whether they have

decreased or increased over time is also relevant to the existence of a custom of over

detentions, notice to the District of the custom, and whether the District was taking

steps to resolve the problem and whether the steps were effective or just window

dressing.


      For example, how could plaintiffs prove an over detention claim in the absence

of any evidence of over detentions? Conversely, a showing that the number of over

detentions has steadily increased over the course of the class period would surely

buttress any over detention claim. Logically the larger the numbers of over detentions

the plaintiffs show the stronger is the over detention claim on liability. For example, a

showing that the number of over detentions has steadily increased over the course of

the class period would highlight’s the District’s deliberate indifference to the rights of

inmates entitled to release by showing that the District is maintaining a policy of

inaction in the face of a custom of late releases. A rising or steady number of over

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detentions over all or part of the course of the class period would support plaintiffs’

contention that the District implemented or allowed a policy or custom of deliberate

inaction in the face of systemic over detentions by maintaining a release system that

“simply delays all releases until the system, in its sweet time, and with the resources

it chooses . . . is ready to make releases." Berry v. Baca, 379 F.3d 764 (9th Cir. 2004

(on remand and on re-appeal).


       On the other hand, a showing that the number of over detentions stopped or

tapered off in the first months of the class period would suggest that the District

successfully addressed the over detention problem early on and thus would support a

defense that the District was not deliberately indifferent. Surely the District is

conducting or has conducted such analyses of the data (the same analyses plaintiffs

need the JACCS materials to conduct) to see whether the analysis supports these

defenses.


       The number of court return strip searches (established by the number of strip

search class members) and the how that number has changed over time has the same

evidentiary value. On the court return strip search claim plaintiffs contend that the

District has a practice of subjecting large numbers of court returns entitled to release

to blanket strip searches by putting them back in their housing units while their

releases are being processed. Thus, the number of over detentions and strip searches

which occurred during the class period (and within certain sub-periods of the class

period) relate directly to liability.


       The extent of any over detention or strip search customs are also relevant to
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showing that the District was aware of problems that needed to be addressed.


Queries In JACCS Data And Manual Examination Of Samples Of Inmate

“Jackets” Can Be Used To Analyze The Number Of Over Detentions (and over

detention hours) And Strip Searches Occurring Over The Class Period


       Both parties in Bynum and plaintiffs in this case (and presumably defendant)

have used JACCS queries in the JACCS data (in conjunction with manual

examinations of inmate jackets) in the process of calculating over detentions and strip

searches on a class wide basis during the class period for liability purposes, as

explained below4. For example, defendant used this method to prepare the late

release reports for the Court in the Bynum case.


       However, because JACCS lacks certain functions or because the DOC staff do

not always populate JACCS fields as they should, queries run in JACCS data can only

identify “potential” late releases and potential post release strip searches on a class

wide basis instead of actual late releases or post release strip searches on a class wide

basis. Therefore, calculating the number (and increase/decrease) of over detentions,

lengths of over detentions and the number of post release strip searches during the

class period (and certain periods within the class period) and how the numbers of over

detentions and court return strip searches have moved (increased or decreased) over

the class period and sub-periods of the class period on a class wide basis is a two step

process requiring use of both (1) JACCS queries and (2) manual examination of at


4
 The discussion in the un-redacted portion of this motion is based on information obtained in
Bynum which is not subject to the protective order in this case.
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least some jackets.


      Step 1 is running queries in JACCS to generate lists of “potential” late releases

and potential post release strip searches. Step 2 is conducting some type of manual

examination of some inmate jackets to obtain data not captured in JACCS or not

captured accurately. Each one of these steps is explained below separately for over

detentions and post release strip searches.


Over detentions. To determine whether an inmate was over detained for a particular

booking cycle one needs at least the inmate’s Commitment Date, Release Date

(inmates' scheduled release date) and Exit Date (and actual release date) for the

particular booking cycle or period of detention. JACCS does have fields which capture

the Commitment Date and the Exit Date. Moreover, JACCS does also have fields

intended to capture the Release Date for each charge for court ordered releases (as

used herein court ordered releases means inmates given court ordered release or time

served which almost always happens when the in-custody-defendant is present at a

court hearing) and “EXPs,” that is, persons released upon expiration of their sentences

(for persons serving determinate sentences and sanctions).


      Moreover, JACCS also has fields which can be used as “proxies” for a Release

Date field for court ordered releases if the Release Date field is not populated or not

populated reliably. One example of a “proxy” for the Release Date is the last court

appearance date field. The last court appearance date field in JACCS captures the

date of an inmate’s last court appearance. Because almost all court returns receive

release orders for the last case(s) on which they are being held at their last court
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appearance, the last court appearance date is usually the same date as the Release

Date. Therefore, the last court appearance date can serve as a proxy5 for the Release

Date. The last court appearance date is a “proxy” for the Release Date rather than

being the “same” as the actual Release Date because the last court appearance date is

only the same as the Release Date sometimes but not always. Therefore, queries run

in JACCS data can only identify “potential” Release Dates,” and thus “potential” late

releases and potential post release strip searches on a class wide basis instead of

actual late releases or post release strip searches on a class wide basis.


          Moreover, sometimes there is information in a jacket that has not been entered

into JACCS, for example, whether an inmate was subject to a detainer or a warrant,

which affects the release decision.


          Therefore, some manual examination of the inmate jackets can produce the

inmate’s Release Date and thus one can determine whether a potential over detention

is in fact an actual over detention.


          There are at least two ways to combine JACCS queries and manual

examinations of jackets to obtain calculate over detentions and lengths of over

detentions on a class wide basis. One is to run a query in JACCS using one or more

proxies for the Release Date to obtain a list of “potential” late releases. Then, the

jackets of the “potential” late releases are manually examined one by one to see which

of the “potential” late releases are in fact actual releases. This is the methodology the

District used in conducting the District’s analysis of the releases in the first year after
5
    There are other “proxies” for Release Date not discussed herein.
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the end of the Bynum class period to calculate how many releases in that year were

late releases (over detentions). Significantly, the report also demonstrates how

JACCS material can be used to calculate over detentions for a purpose other than

damages inquiries.


       A second more efficient way to analyze which “potential” late releases

(generated by JACCS queries) are actual late releases is the method used by the

plaintiffs: “stratified sampling.” In this method, in step 1, just as defendant does,

plaintiffs first run a query in the JACCS data to generate a list of “potential” late

releases. But then, instead of doing a manual examination of each of the jackets on

the list of “potential” late releases, plaintiffs’ experts organize the list of “potential”

late releases into segments or “strata” on the basis of criteria they have developed, and

then select a sample from each of the “strata” on the list. Then, plaintiffs do a manual

examination of a statistically valid sample of the jackets in each strata and provide the

experts with the number of actual over detentions and the number of on-time releases

in each strata. Then the experts use these numbers to extrapolate the total number of

over detentions and over detention hours for the class for the class period (or portions

of the class period, e.g. the first year).


       What is the same in the two methods though is that each party is using JACCS

queries and manual examinations of jackets to determine over detentions and periods

of over detention to establish liability (or in the District’s case, an alleged lack of

liability) and not to determine damages.


       However, what the difference between defendant’s and plaintiffs’ methodologies
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is what is most important. While defendant has to do a manual examination of every

single jacket on the list of “potential” late releases to obtain the Release Date for each

jacket, plaintiffs only have to examine about 10%6 of the “potential” late release

jackets to obtain essentially the same data. Thus, plaintiffs’ method significantly

reduces the number over detention jackets plaintiffs have to manually examine, and so

plaintiffs’ method also significantly reduces the number over detention jackets the

District must produce to plaintiffs. However, and most importantly, plaintiffs’

methodology enables plaintiffs to use JACCS data and a limited manual

examinations of jackets to determine on a class wide basis the number of

over detentions and the over detention hours and the number of strip

searches during the class period and sub-periods of the class period.


Court return strip searches. Plaintiffs use the same two step analysis to calculate the

number of post release strip searches during the class period (and certain periods

within the class period) and how the numbers of court return strip searches have

moved (increased or decreased) over the class period and sub-periods of the class

period on a class wide basis. That is, plaintiffs run a JACCS query to generate a list of

potential strip search class members and then uses sampling to calculate the number

of strip searches in a given period. Some of the fields in the strip search query are

different and plaintiffs have to review7 documents and verify discovery responses and

deposition testimony in addition to the inmate jackets but the methodology is the


6
  The “10%” figure is only an approximation of the actual percentage. The exact percentage of the
sample is determined by plaintiffs’ experts using reliable statistical methods.
7
  Why plaintiffs have to review documents in addition to the inmate jackets is explained below in
the redacted section of the motion.
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same. Plaintiffs’ experts, after a review of JACCS documents and other materials,

develop a strip search query, generate a list of potential post release strip searches,

and select statistically significant samples of jackets for manual examination.

Plaintiffs review the jackets, they compile numbers of post release strip searches, and

plaintiffs’ experts extrapolate the numbers for totals of court returns entitled to

release who were strip searched before release for the class period and sub-periods of

the class period.


PLAINTIFFS’ 4th DOCUMENT PRODUCTION REQUESTS AND THE

DISTRICT’S OBJECTIONS


      Plaintiffs propounded their fourth set of document production requests to

defendant on about 9/16/09. Plaintiffs fourth set of document production requests

included the four requests listed below for which defendant did not produce

documents:


Document production request # 1:


   All versions of the JACCS Data Dictionary that are (or were) in use from
   September 1, 2005 to Present Day including a listing of every field in the JACCS
   system that has been in use since 9/1/05 to the present, the screen name of the
   field, and the technical name of the field.


District’s objection to document production request # 1.


      The District objects to production of the requested documents. Discovery
      requests are limited and circumscribed by this Court’s Order dated
      October 31, 2009, docket # 65, which bifurcated this action between
      liability and damages, and stayed damages discovery. The data
      dictionary is not a document that lends itself to analysis of liability as it
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      lists computer database fields. The only possible use of information
      related to the JACCS database is to identify potential class members,
      which relates to the damages inquiry, not liability.

Document production request # 2:

      A JACCS Data Production, to include data from following tables (using the table
      names in column A of the attached JACCS Data Dictionary) for all inmates
      released on or after September 1, 2005:


   [document production request # 2 included a request for records from certain
   specified JACCS tables as well as a request for records needed to perform certain
   functions and records from fields populated by certain posts and locations]

District’s objection to document production request # 2.


   The District objects to production of the requested documents. Discovery requests
   are limited and circumscribed by this Court’s Order dated October 31, 2009, docket
   # 65, which bifurcated this action between liability and damages, and stayed
   damages discovery. The data dictionary [sic] is not a document that lends itself to
   analysis of liability as it lists computer database fields. The only possible use of
   information related to the JACCS database is to identify potential class members,
   which relates to the damages inquiry, not liability.

Document production request # 3:

      Code tables for all categorical (i.e., pull-down menu) fields within one or more
      tables listed in (2) which were in use from 9/1/05 to present.



District’s objection to document production request # 3.

      The District objects to production of the requested documents. Discovery
      requests are limited and circumscribed by this Court’s Order dated
      October 31, 2009, docket # 65, which bifurcated this action between
      liability and damages, and stayed damages discovery. The code tables
      are not documents that lend themselves itself to analysis of liability as it
      lists computer database codes. The only possible use of information
      related to the JACCS database is to identify potential class members,
      which relates to the damages inquiry, not liability.



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Document production request # 5:


       All versions of a complete JACCS Data Entry Responsibilities8 Matrix,
       which identifies which division of the Department of Corrections is
       responsible for populating the fields on each screen.

District’s objection to document production request # 5.

       The District objects to production of the requested documents. Discovery
       requests are limited and circumscribed by this Court’s Order dated
       October 31, 2009, docket # 65, which bifurcated this action between
       liability and damages, and stayed damages discovery. The matrices lists
       persons performing database entry. As no individual is sued in their
       individual or official capacity, this request does not lend itself to a
       liability analysis.

Document production request # 6:

Additional Documentation:
         a. Documents describing officers’ practices/procedures regarding the
            commitment and release processes for court ordered releases.
         b. Documents describing the procedures that include the term “strip search”
            or “body cavity search.”


District’s objection to document production request # 6.

           The District objects to request # 6 as it is ambiguous and vague. After
           careful review and consideration of the stated request, the District has no
           documents that responds to this request # 6a. [The District produced a
           document in response to 6b.]

    Production Format: Plaintiffs specified the production format for defendant to use
    as follows so plaintiffs would get the data in electronic format:


    Please include items (1) through (6) on one or more CD/DVD-ROMs. Please
    provide the JACCS Data Production either i) in one or more Microsoft Access
    Databases, in which there is one spreadsheet for each JACCS data table listed in
    (2), or ii) in multiple Comma Separated Value (.CSV) or flat text (.TXT) files, one
    corresponding to each JACCS data table listed in (2).

8
 Plaintiffs attached to this request for illustrative purposes a copy of a JACCS Data Entry
Responsibilities Matrix produced by defendant to plaintiffs in Bynum, which identifies which
division or post of the Department of Corrections populates which fields in JACCS.
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HOW THE REQUESTED DOCUMENTS RELATE TO SPECIFIC ISSUES

       The following discussion analyzes how the requested documents relate to

specific issues in the case.


       [REDACTED and filed under seal]


Respectfully submitted,

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Respectfully submitted                      Respectfully submitted,

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